Case 4:12-Cr-00182-I\/|AC-DDB Document 6 Filed 08/09/12 Page 1 of 5 Page|D #: 12

FILED
U.S. DISTR|CT COUFIT
IN THE UNITED STATES DISTRICT CoiaRsirEnN nimmer ocr TE><AS

EASTERN DISTRICT OF TEXAS AUG s 9 2012
SHERMAN DIVISION
DAvlL) J. lv'mi_ANu, (,'Lr;m\

BV
BEPUTY

No. 4;12€RLQ/

Judge

UNITED STATES OF AMERICA

 

V.

GRANT WESLEY NoRWooD (1)
MYLES HUNTER DoUGLAS (2)
ADAM EDWARDS (3)

CHAD BEAU EMERSON (4)
GEoRGE ANTHoNY KNoTTS (5)
AUSTlN RAYMOND oTTo (6)
DoNALD EUGENE PARENZAN (7)
DEREK TUCKER (8)

COJCOOQOOBO'D©O'DOO'DC¢OOOO'DOO'DOO¢OO¢OUD

INDICTMENT
TH]E UNITED STATES GRAND JURY CHARGES:
_ Count One

Violation: 21 U.S.C. § 846

(Conspiracy to Possess With Intent to
Distribute
3,4-methy1enedioxy-N-methylcathinone)

That from Sometirne in or about January 2012, and continuously thereafter up to
and including August 9, 2012, in the Eastern District of Texas and elsewhere,

Grant Wesley Norwood
Myles Hunter Douglas
Adam Edwards
Chad Beau Emerson
George Anthony Knotts
Austin Raymond Otto
Donald Eugene Parenzan
Derek Tucker

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defendants, did knowingly and intentionally combine, conspire, and agree with each other
and other persons known and unknown to the United States Grand Jury, to knowingly vand
intentionally possess with the intent to distribute a mixture or substance containing a
detectable amount of 3,4-methylenedioxy-N-methylcathinone, a violation of 21 U.S.C. §
84 l (a)( l).
ln violation of21 U.S.C. § 846.
Count Two
Violation: 18 U.S.C. § 924(c)
(Possession of a Firearm in F.urtherance
of a Drug Trafficking Crime)

In or about December 2011 through March 2012, within the Eastern District of
Texas, Chad Beau Emerson, defendant, did knowingly possess a firearm, namely, a Sig
Sauer, Model 220, .45 caliber pistol, serial number 37A011490, in furtherance of a drug
trafficking crime for which he may be prosecuted in a Court of the United States, to wit:
the conspiracy to possess with intent to distribute 3,4-methylenedioxy~N-methylcathinine,
as alleged in Count One of this Indictment, a violation of 21 U.S.C. § 846.

ln violation of 18 U.S.C. § 924(c).

Count Three
Violation: 18 U.S.C. § 924(c)
(Possession of a Firearm in Furtherance

of a Drug Trafficking Crime)

On or about May 2012 through July 2012, within the Eastern District of Texas,

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Grant Wesley Norwood, defendant, did knowingly possess flrearms, namely, a
Remington, 12 gauge shotgun, serial number RS74047E, in furtherance of a drug
trafficking crime for which he may be prosecuted in a Court of the United States, to wit:
the conspiracy to possess with intent to distribute
3,4-methylenedioXy-N-methylcathinone, as alleged in Count One_ of this Indictment, a
violation 0f21 U.S.C. § 846.

In violation of 18 U.S.C. § 924(c).

NOTICE OF INTENT TO SEEK CRIMINAL FORFEITURE

As a result of committing the offenses as alleged in this Indictment, the defendants
shall forfeit to the United States pursuant to 18 U.S.C. § 924(d) and 21 U.S.C. § 853, all
property used to commit or facilitate the offenses, proceeds from the offenses, and
property derived from proceeds obtained directly or indirectly from the offenses,
including but not limited to the following:

Remington, 12 gauge shotgun, serial number RS74047E;

Weatherby, Model Vanguard, .3 00 caliber rifle, serial number VS305661;

Marlin, Model 336, 30-30 caliber lever action rifle, serial number 24033414;

Sig Sauer, Model 220, .45 caliber pistol, serial number 37A011490;

Romar/Cugir, Model WASR-lO, 7.62 caliber file, serial number l-97998-RO;

Romar/Cugir, Model WASRlO/63, 7.62 caliber file, serial number AH6553 1989;

$22,731.00 in U.S. currency;

lNDICTMENTmOTICE OF PENALTY - Page 3

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$22,866.00 in U.S. currency; and

$22,691.63 in U.S. currency.

JOHN M. BALES
UNITED STATES ATTORNEY

§421 626

’ ' ‘ .BA'l` SON
Asl:Ai ited States Attorney

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A TRUE BILL

JW\/

GI&\ND JURY FoREPERsoN

 

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IN THE UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TEXAS

 

SHERMAN DIVISION

UNITED STATES OF AMERICA §

§
v. § NO. 4:12CR

‘ § Judge
GRANT WESLEY NORWOOD (l) §
MYLES HUNTER DOUGLAS (2) §
ADAM EDWARDS (3) § `
CHAD BEAU EMERSON (4) §
GEORGE ANTHONY KNOTTS (5) §
AUSTIN RAYMOND OTTO (6) §
DONALD EUGENE PARENZAN (7) §
DEREK TUCKER (8) §
NOTICE OF PENALTY
Count One

Violation: 2l U.S.C. § 846
Penalty: Imprisonment for not more than twenty years, a fine not to exceed

$5,000,000, or both, and a term of supervised release of at least three years.

Special Assessment: $100.00

Counts Two and Three

 

Violation: 18 U.S.C. § 924(c)

Penal'_ty: Imprisomnent for not less than 5 years and not more than life; a fine not to
exceed $250,000, or both. A term of supervised release of not more than 5
years.

Special Assessment: 8100.00

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